             Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 1 of 15



 1   SHANNON LISS-RIORDAN, SBN 310719
     (sliss@llrlaw.com)
 2
     ADELAIDE PAGANO, pro hac vice anticipated
 3   (apagano@llrlaw.com)
     ANNE KRAMER, SBN 315131
 4   (akramer@llrlaw.com)
     LICHTEN & LISS-RIORDAN, P.C.
 5
     729 Boylston Street, Suite 2000
 6   Boston, MA 02116
     Telephone:     (617) 994-5800
 7   Facsimile:     (617) 994-5801
 8
     Attorneys for Plaintiff Angela McRay
 9
     on behalf of herself and all others
     similarly situated,
10
                                 UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12

13   ANGELA MCRAY, individually and on behalf Case No. _________________
     of all others similarly situated,
14
                   Plaintiff,                    CLASS ACTION COMPLAINT
15

16   v.                                             1.   FAILURE TO REIMBURSE FOR BUSINESS
                                                         EXPENSES (CAL. LAB. CODE § 2802,
17   UBER TECHNOLOGIES, INC,                             WAGE ORDER 9-2001)
                                                    2.   MINIMUM WAGE (CAL. LABOR CODE §§
18                                                       1197, 1194, 1182.12, 1194.2, 1197.1, 1199,
                   Defendant.                            WAGE ORDER 9-2001)
19                                                  3.   UNLAWFUL AND/OR UNFAIR BUSINESS
                                                         PRACTICES (CAL. BUS. & PROF. CODE
20                                                       §§17200-17208)
                                                    4.   OVERTIME (CAL. LAB. CODE § 1194, 1198,
21                                                       510 AND 554, WAGE ORDER 9-2001)
                                                    5.   FAILURE TO PROVIDE PROPER
22                                                       ITEMIZED PAY STATEMENTS (CAL.
                                                         LABOR CODE § 226(A), WAGE ORDER 9-
23                                                       2001)
                                                    6.   DECLARATORY JUDGMENT (28 U.S.C.
24                                                       §§2201-02)

25

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                                      CLASS ACTION COMPLAINT
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              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 2 of 15



 1
     I.     INTRODUCTION
 2
            1.      Uber is a car service, which engages thousands of drivers across the state of
 3
     California who can be hailed and dispatched through a mobile phone application to transport
 4
     riders. Uber is based in San Francisco, California, and it does business across the United States
 5
     and extensively throughout California.
 6
            2.      As described further below, Uber has misclassified its drivers, including Plaintiff
 7
     Angela McRay, as independent contractors when they should be classified under California law
 8

 9
     as employees. Based on the drivers’ misclassification as independent contractors, Uber has

10   unlawfully required drivers to pay business expenses (including but not limited to the cost of

11   maintaining their vehicles, gas, insurance, phone and data expenses, and other costs) in violation

12   of Cal. Lab. Code § 2802. Uber has also failed to guarantee and pay its drivers minimum wage

13   for all hours worked and it has failed to pay overtime premiums for hours worked in excess of

14   eight hours per day or forty hours per week in violation of Cal. Lab. Code §§ 1182.12, 1194.2,
15   1194, 1197, 1197.1, 1198, 1199, 510, and 554. Uber has also failed to provide proper itemized
16   wage statements that include all the requisite information, including hours worked and hourly
17   wages and that are accessible outside the Uber Application in violation of Cal. Lab. Code §
18   226(a). Uber’s continued misclassification of its drivers as independent contractors is willful
19   misclassification in violation of Cal. Labor Code § 226.8.
20
            3.      Indeed, the California legislature has now passed a statute known as Assembly
21
     Bill 5 (or “AB5”), which codifies the 2018 California Supreme Court decision, Dynamex
22
     Operations W., Inc. v. Superior Court, 4 Cal. 5th 903, 416 P.3d 1 (2018), reh'g denied (June 20,
23
     2018), under which an alleged employer cannot justify classifying workers as independent
24
     contractors who perform services within its usual course of business. It has been widely
25
     recognized by the California legislature, including the bill’s author, that the purpose and intent of
26
     this statute is to ensure that companies, including specifically Uber, stop misclassifying their
27                                                  2
                                         CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 3 of 15



 1
     workers as independent contractors. Although Uber attempted to obtain a “carve-out” from this
 2
     statute, it did not obtain such an exemption, and the legislature passed the statute so that it would
 3
     include Uber drivers. Nevertheless, Uber has publicly stated that it intends to defy this statute
 4
     and continue to classify its drivers as independent contractors – in violation of the express intent
 5
     of the California legislature. This ongoing defiance of the law constitutes a willful violation of
 6
     California law.
 7
            4.         Plaintiff brings these claims on behalf of herself and all other similarly situated
 8

 9
     pursuant to Fed. R. Civ. P. 23. She seeks recovery of damages for herself and the class, as well

10   as declaratory and injunctive relief, requiring Uber to reclassify its drivers as employees in

11   California.

12   II.    PARTIES

13          5.         Plaintiff Angela McRay is an adult resident of Pittsburg, California, where she has

14   worked as an Uber driver since November 2016.
15          6.         The above-named plaintiff has brought this action on her own behalf and on
16   behalf of all others similarly situated, namely all other individuals who have worked as Uber
17   drivers in California who have not released all of their claims against Uber.
18          7.         Defendant Uber Technologies, Inc. (“Uber”) is a corporation headquartered in
19   San Francisco, California.
20
     III.   JURISDICTION
21
            8.         This Court has jurisdiction over the state law claims asserted here pursuant to the
22
     Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), since Defendant is a California citizen and,
23
     upon the filing of this complaint, members of the putative plaintiff class reside in states around
24
     the country; there are more than 100 putative class members; and the amount in controversy
25
     exceeds $5 million.
26

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                                           CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 4 of 15



 1
            9.         This Court also has jurisdiction under the Declaratory Judgment Act, 28 U.S.C.
 2
     §§ 2201-02, and Rule 57 of the Federal Rules of Civil Procedure.
 3
     IV.    STATEMENT OF FACTS
 4
            10.        Uber is a San Francisco-based car service that provides transportation service in
 5
     cities throughout the country, including in California, via an on-demand dispatch system.
 6
            11.        Uber offers customers the ability to hail a car service driver on a mobile phone
 7
     application.
 8

 9
            12.        Uber’s website has advertised that “Uber is your on-demand private driver.”

10          13.        Although classified as independent contractors, Uber drivers are employees under

11   California law.

12          14.        Drivers perform a service in the usual course of Uber’s business, since Uber is a

13   car service that provides transportation to its customers, and drivers such as Plaintiff Angela

14   McRay perform that transportation service. Uber holds itself out as a transportation service, and
15   it generates its revenue primarily from customers paying for the very rides that its drivers
16   perform. Without drivers to provide rides for Uber’s customers, Uber would not exist.
17          15.        Uber also requires its drivers to abide by a litany of policies and rules designed
18   to control the drivers’ work performance. Uber retains the right to terminate drivers at any time
19   in its discretion. Uber may terminate a driver if the driver behaves in a way that Uber believes
20
     in inappropriate or has violated one of Uber’s rules or standards. Drivers are also subject to
21
     termination based on Uber’s system of using customer rating feedback; drivers can be
22
     terminated in Uber’s discretion if Uber deems their customer ratings to be inadequate.
23
            16.        When driving for Uber, Uber drivers are not engaged in their own transportation
24
     business. Instead, when driving Uber customers, drivers wear the “hat” of Uber. Customers
25
     cannot request specific Uber drivers; instead, Uber assigns particular rides to drivers.
26

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                                           CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 5 of 15



 1
            17.     Uber does not require drivers to possess any skill above and beyond that
 2
     necessary to obtain a normal driver’s license.
 3
            18.     Drivers’ tenure with Uber is for an indefinite amount of time.
 4
            19.     Uber provides the drivers with the primary instrumentality with which they can
 5
     perform services for Uber because Uber only derives a benefit from the drivers’ labor when they
 6
     use Uber’s software.
 7
            20.     Uber sets the rate of pay for drivers’ services and changes the rate of pay in its
 8

 9
     sole discretion.

10          21.     At times, Uber has deducted money from drivers’ fares to cover the cost of an

11   Uber-issued iPhone, which drivers use to run Uber’s software and accept ride requests.

12          22.     Drivers must undergo background checks, receive initial training, and, in some

13   circumstances, Uber has required drivers to attend training classes and pass a written test as a

14   prerequisite to driving for Uber.
15          23.     Drivers’ vehicles must meet Uber’s quality standards, which it determines and
16   may change at any time at its sole discretion.
17          24.     Uber may make promotional offers to riders that reduce drivers’ income without
18   consulting the drivers.
19          25.     Uber monitors drivers’ performance and may suspend or terminate drivers who
20
     do not accept enough rides, cancel too many rides, do not maintain high customer satisfaction
21
     ratings, do not take what Uber deems to be the most efficient routes, or engage in other conduct
22
     that Uber, in its sole discretion, may determine constitutes grounds for suspension or
23
     termination.
24
            26.     Uber drivers are engaged in interstate commerce. At times, drivers transport
25
     passengers across state lines. Furthermore, drivers are engaged in interstate commerce insofar
26
     as they transport passengers who are within the flow of interstate commerce; indeed, passengers
27                                                  5
                                         CLASS ACTION COMPLAINT
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               Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 6 of 15



 1
     at times arrive from, or are traveling to destinations, out of state, such as arriving at or leaving
 2
     train stations or airports.
 3
             27.     Uber does not reimburse drivers for any expenses they incur while working for
 4
     Uber, including, but not limited to the cost of maintaining their vehicles, gas, insurance, and
 5
     phone and data expenses for running the Uber Application. Drivers incur these costs as a
 6
     necessary expenditure to work for Uber, which California law requires employers to reimburse.
 7
             28.     Uber has violated Cal. Lab. Code §§ 1194, 1197 by failing to assure that drivers,
 8

 9
     including Angela McRay, make the applicable minimum wage for all hours worked, after

10   accounting for their expenses and other deductions taken from their pay. The hours they work

11   include hours spent transporting passengers, driving to pick up passengers, and driving between

12   rides while awaiting the next ride.

13           29.     Uber has violated Cal. Lab. Code §§ 1194, 1198, 510 and 554 by failing to pay its

14   drivers like Angela McRay the appropriate overtime premium for all overtime hours worked
15   beyond forty per week or eight per day. Ms. McRay has worked more than eight hours per day
16   and more than forty hours per week at various times since she began driving for Uber in
17   November 2016 and was never paid the appropriate premium for hours worked beyond eight per
18   day or forty per week. The hours that drivers such as Ms. McRay have worked include hours
19   spent transporting passengers, driving to pick up passengers, and driving between rides while
20
     awaiting the next ride.
21
             30.     Uber has violated Cal. Lab. Code § 226(a) by failing to provide proper itemized
22
     wage statements that include all the requisite information required by California law, including
23
     hours worked and hourly wages and has failed to provide pay statements that are accessible to
24
     drivers outside of the Uber Application.
25
             31.     On April 30, 2018, the California Supreme Court issued its decision in Dynamex
26
     Operations W., Inc. v. Superior Court, 4 Cal. 5th 903, 416 P.3d 1 (2018), reh'g denied (June 20,
27                                                    6
                                           CLASS ACTION COMPLAINT
28
               Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 7 of 15



 1
     2018), which makes clear that Uber drivers should be classified as employees rather than as
 2
     independent contractors under California law for purposes of wage-and-hour statutes like the
 3
     ones at issue here. Under the “ABC” test adopted in Dynamex, in order to justify classifying the
 4
     drivers as independent contractors, Uber would have to prove that its drivers perform services
 5
     outside its usual course of business (in addition to other requirements), which it cannot do.
 6
     Notwithstanding this decision, Uber has willfully continued to misclassify its drivers as
 7
     independent contractors.
 8

 9
             32.     Furthermore, the California legislature has now taken steps to clarify and codify

10   the Dynamex decision by passing Assembly Bill 5, which has been passed by the California

11   legislature and is expected to be signed into law by the governor imminently. However, Uber

12   has nevertheless publicly and defiantly stated, including through its General Counsel Tony West,

13   that it will not classify its drivers as employees.1 Uber has stated that it will not reclassify its

14   drivers, even though the legislature has clearly intended for Uber to be covered by this statute;
15   indeed, the author of the statute, Assemblywoman Lorena Gonzalez, has made clear that Uber
16   (and similar “gig economy” companies) would not be exempted from the law. Uber specifically
17   lobbied to obtain a “carve-out” exemption from the law, which it did not receive from the
18   legislature.
19

20

21

22

23

24
     1
25          See Conger, Kate and Noam Scheiber, Confusion and Defiance Follow Californiaʼs New
     Gig-Worker Law, NEW YORK TIMES (Sept. 11, 2019); Miller, Cheryl, Uber's Top Lawyer Vows
26   Fight as California Embraces Sweeping New Labor Rules, THE RECORDER (Sept. 11, 2019).
27                                                   7
                                          CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 8 of 15



 1
     V.     CLASS ACTION ALLEGATIONS
 2
            33.       The class representative, Angela McRay, has brought this action as a class action
 3
     pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of Uber drivers who have
 4
     worked for Uber in California.
 5
            34.       The class representative and other class members have uniformly been
 6
     misclassified as independent contractors.
 7
            35.       The members of the class are so numerous that joinder of all class members is
 8

 9
     impracticable.

10          36.       Common questions of law and fact regarding Uber’s conduct exist as to all

11   members of the class and predominate over any questions affecting solely any individual

12   members of the class. Among the questions of law and fact common to the class are:

13                a. Whether the work performed by class members—providing transportation service

14                    to customers—is within Uber’s usual course of business, and whether such
15                    service is fully integrated into Uber’s business;
16                b. Whether class members have been required to work under Uber’s direction and
17                    control;
18                c. Whether class members are engaged in an independently established business or
19                    occupation while they are transporting Uber customers;
20
                  d. Whether class members have been required to bear the expenses of their
21
                      employment, such as expenses for their vehicles, gas, and other expenses;
22
                  e. Whether class members have suffered other violations of the California Labor
23
                      Code and Wage Orders, as described herein.
24
           37.        The class representative is a member of the class, who suffered damages as a
25
     result of Defendant’s conduct and actions alleged herein.
26

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                                          CLASS ACTION COMPLAINT
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               Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 9 of 15



 1
            38.      The class representative’s claims are typical of the claims of the class and she
 2
     has the same interests as the other members of the class.
 3
            39.      The class representative will fairly and adequately represent and protect the
 4
     interests of the class. The class representative has retained able counsel experienced in class
 5
     action litigation and particularly in the allegations included here. The interests of the class
 6
     representative are coincident with, and not antagonistic to, the interests of the other class
 7
     members.
 8

 9
            40.      The questions of law and fact common to the members of the class predominate

10   over any questions affecting only individual members, including legal and factual issues

11   relating to liability and damages.

12          41.      A class action is superior to other available methods for the fair and efficient

13   adjudication of this controversy because joinder of all class members is impractical. Moreover,

14   since the damages suffered by individual members of the class may be relatively small, the
15   expense and burden of individual litigation makes it practically impossible for the members of
16   the class individually to redress the wrongs done to them. The class is readily definable and
17   prosecution of this action as a class action will eliminate the possibility of repetitive litigation.
18   There will be no difficulty in the management of this action as a class action.
19

20                                          COUNT I
                                      Declaratory Judgment
21                  Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2201
22           42.     An actual controversy of sufficient immediacy exists between the Parties as to
23   whether Uber has failed to comply with its obligations under the California Labor Code, as
24   described above.
25           43.     Uber’s conduct in misclassifying its drivers, including Plaintiff McRay, as
26   independent contractors, failing to ensure that they are reimbursed for their necessary business
27                                                   9
                                          CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 10 of 15



 1
     expenditures, failing to ensure that they receive minimum wage for all hours worked, overtime
 2
     pay, and other protections of California’s Labor Code and Wage Orders, contravenes California
 3
     state law.
 4
             44.     As a result of the factual allegations above, Plaintiff and all Uber drivers in
 5
     California have suffered actionable harm, as they are not properly compensated for their work
 6
     for Uber.
 7
             45.     Plaintiff seeks an order of this Court pursuant to 28 U.S.C. §§2201-02 and Fed. R.
 8

 9
     Civ. P. 57 declaring that, as a result of its misclassification of its drivers, Uber has violated the

10   California Labor Code and Wage Orders and declaring that Uber must comply with the Labor

11   Code and Wage Orders.

12           46.     The injunction that Plaintiff seeks is in the nature of a public injunction and is not

13   solely for the benefit of herself and other Uber drivers. Instead, ordering Uber to comply with

14   the California Labor Code is in the public interest because Uber’s violation of the Labor Code
15   and Wage Orders diminishes labor standards more generally in the California economy and
16   particularly in the transportation industry. Complying competitors are put at a disadvantage
17   when companies such as Uber flout the Labor Code and Wage Orders by misclassifying their
18   employees as independent contractors. Public funds are also impacted by these violations
19   because the state incurs costs in supporting and providing services to employees who are not
20
     properly paid and do not even receive minimum wage. The California Supreme Court made a
21
     strong statement in the recent Dynamex decision – and the California legislature has now
22
     reinforced that statement by passing Assembly Bill 5 -- of the importance to the public good of
23
     employers properly classifying their workers as employees. That public interest is harmed by an
24
     employer such as Uber ignoring the decision and continuing to classify its employees as
25
     independent contractors.
26

27                                                   10
                                          CLASS ACTION COMPLAINT
28
             Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 11 of 15



 1                                             COUNT II
                                       Expense Reimbursement
 2
                        Violation of Cal. Lab. Code § 2802, Wage Order 9-2001
 3
            47.     Plaintiff realleges and incorporates by reference the allegations in the preceding
 4
     paragraphs as if fully alleged herein. Uber’s conduct, as set forth above, in misclassifying its
 5
     drivers as independent contractors, and failing to reimburse them for expenses they paid that
 6
     should have been borne by their employer, including but not limited to gas, insurance, car
 7
     maintenance, and phone data charges, constitutes a violation of California Labor Code Section
 8
     2802 and Wage Order 9-2001.
 9
            48.     This claim is brought on behalf of a class of similarly situated individuals who
10
     have worked as drivers for Uber in the state of California.
11

12                                             COUNT III
                                        Willful Misclassification
13
                                   Violation of Cal. Lab. Code § 226.8
14
            49.     Plaintiff realleges and incorporates by reference the allegations in the preceding
15
     paragraphs as if fully alleged herein. Defendant’s conduct, as set forth above, in continuing to
16
     classify drivers as independent contractors notwithstanding the California Supreme Court’s
17
     decision in Dynamex Operations W., Inc. v. Superior Court, 4 Cal. 5th 903, 416 P.3d 1 (2018),
18
     reh'g denied (June 20, 2018), and notwithstanding the California Legislature’s passage of
19
     Assembly Bill 5, both of which make clear that Uber drivers are employees under California
20
     law, violates Cal. Lab. Code §226.8 and constitutes willful misclassification.
21
            50.     This claim is brought on behalf of a class of similarly situated individuals who
22
     have worked as drivers for Uber in the state of California.
23

24

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                                         CLASS ACTION COMPLAINT
28
              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 12 of 15



 1                                           COUNT IV
                                           Minimum Wage
 2
               Violation of Cal. Lab. Code §§ 1197, 1194, 1182.12, 1194.2, 1197.1, 1199;
 3                 Wage Order 9-2001; San Francisco Minimum Wage Ordinance;
                          Los Angeles Citywide Minimum Wage Ordinance;
 4                         Los Angeles County Minimum Wage Ordinance
 5          51.      Plaintiff realleges and incorporates by reference the allegations in the preceding
 6   paragraphs as if fully alleged herein. Uber’s conduct, as set forth above, in failing to ensure its
 7   drivers rececive minimum wage for all hours worked as required by California law, violates Cal.
 8   Lab. Code §§ 1197, 1194, 1182.12, 1194.2, 1197.1, 1199 and Wage Order 9-2001 (as well as
 9   the higher minimum wage rates established by the San Francisco Minimum Wage Ordinance,
10
     the Los Angeles Citywide Minimum Wage Ordinance, and the Los Angeles County Minimum
11
     Wage Ordinance, for those drivers who worked in those jurisdictions).
12
            52.      This claim is brought on behalf of a class of similarly situated individuals who
13
     have worked as drivers for Uber in the state of California.
14

15                                                COUNT V
                                                   Overtime
16                Violation of Cal. Lab. Code §§ 1194, 1198, 510 and 554; Wage Order 9-2001
17          53.      Plaintiff realleges and incorporates by reference the allegations in the preceding
18   paragraphs as if fully alleged herein. Defendant’s conduct, as set forth above, in failing to pay
19
     its employees the appropriate overtime premium for overtime hours worked as required by
20
     California Law, violates Cal. Lab. Code §§ 1194, 1198, 510 and 554 and Wage Order 9-2001.
21
            54.      This claim is brought on behalf of a class of similarly situated individuals who
22
     have worked as drivers for Uber in the state of California.
23

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                                          CLASS ACTION COMPLAINT
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             Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 13 of 15



 1                                               COUNT VI
                            Failure to Provide Accurate Itemized Pay Statements
 2
                       Violation of Cal. Lab. Code § 226(a), 226.3; Wage Order 9-2001
 3
            55.     Plaintiff realleges and incorporates by reference the allegations in the preceding
 4
     paragraphs as if fully alleged herein. Uber’s conduct, as set forth above, in failing to provide
 5
     proper itemized wage statements, as required by California state law, violates Cal. Lab. Code
 6
     §226(a) and Wage Order 9-2001.
 7
            56.     This claim is brought on behalf of a class of similarly situated individuals who
 8
     have worked as drivers for Uber in the state of California.
 9

10

11
                                                  COUNT VII
12                                          Unfair Business Practices
                               Violation of Cal. Bus. & Prof. Code §17200, et seq.
13
            57.     Plaintiff realleges and incorporates by reference the allegations in the preceding
14
     paragraphs as if fully alleged herein. Uber’s conduct, as set forth above, violates the California
15
     Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”). Uber’s conduct
16
     constitutes unlawful business acts or practices, in that Uber has violated California Labor Code
17
     §§ 2802, 1194, 1198, 510, 554, 1197, 1194, 1182.12, 1194.2, 1197.1, 1199, 226.8, and 226(a).
18

19
     As a result of Uber’s unlawful conduct, Plaintiff and class members suffered injury in fact and

20   lost money and property, including, but not limited to business expenses that drivers were

21   required to pay and wages that drivers were due. Pursuant to California Business and

22   Professions Code § 17203, Plaintiff and class members seek declaratory and injunctive relief for

23   Uber’s unlawful conduct and to recover restitution. Pursuant to California Code of Civil

24   Procedure § 1021.5, Plaintiff and class members who worked for Uber are entitled to recover
25   reasonable attorneys’ fees, costs, and expenses incurred in bringing this action.
26

27                                                  13
                                         CLASS ACTION COMPLAINT
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             Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 14 of 15



 1
            58.      This claim is brought on behalf of a class of similarly situated individuals who
 2
     have worked as drivers for Uber in the state of California.
 3

 4

 5          WHEREFORE, Plaintiff requests that this Court enter the following relief:
 6

 7          a. Declare that Uber’s actions described in this Complaint violate the rights of Plaintiff

 8                and Uber drivers throughout California;

 9          b. Declare and find that the Uber has violated Wage Order 9-2001, the UCL, and Cal.

10                Lab. Code 226(a), 226.3, 226.7, 510, 558, 1184.12, 1194, 1194.2, 1197, 1197.1,
11                1199, 1198, and 2802 as well as the San Francisco Minimum Wage Ordinance, the
12                Los Angeles Citywide Minimum Wage Ordinance, and the Los Angeles County
13                Minimum Wage Ordinance;
14          c. Certify a class action under Count I through VII and appoint Plaintiff Angela McRay
15                and her counsel to represent a class of Uber drivers in the state of California;
16
            d. Award compensatory damages, including all expenses and wages owed, in an
17
                  amount according to proof;
18
            e. Award pre- and post-judgment interest;
19
            f. Award reasonable attorneys’ fees, costs, and expenses;
20
            g. Issue a declaratory judgment that Uber has violated the California Labor Code and
21
                  Wage Orders in connection with its misclassification of drivers as independent
22
                  contractors;
23
            h. Issue public injunctive relief in the form of an order requiring Uber to comply with
24
                  the California Labor Code and Wage Orders and other provisions cited herein; and
25
            i. Award any other relief to which the Plaintiff and the class may be entitled.
26

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                                          CLASS ACTION COMPLAINT
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              Case 4:19-cv-05723-DMR Document 1 Filed 09/11/19 Page 15 of 15



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 3
                                           Respectfully submitted,
 4

 5
                                           ANGELA MCRAY, individually
 6                                         and on behalf of all others similarly situated,

 7                                         By their attorneys,
 8
                                           _/s/ Shannon Liss-Riordan_______________
 9                                         Shannon Liss-Riordan, SBN 310719
                                           Adelaide Pagano, pro hac vice anticipated
10                                         Anne Kramer, SBN 315131
                                           LICHTEN & LISS-RIORDAN, P.C.
11
                                           729 Boylston Street, Suite 2000
12                                         Boston, MA 02116
                                           (617) 994-5800
13                                         Email: sliss@llrlaw.com, apagano@llrlaw.com,
                                           akramer@llrlaw.com
14

15

16   Dated:       September 11, 2019
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                                   CLASS ACTION COMPLAINT
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